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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY

                                                Case No. 2:19-MD-02904-MCA-MAH
   IN RE: AMERICAN MEDICAL
   COLLECTION AGENCY, INC.,                     MDL 2904
   CUSTOMER DATA SECURITY
   BREACH LITIGATION                            MEMORANDUM IN SUPPORT
                                                OF LABORATORY
   This Document Relates To:                    CORPORATION OF AMERICA
   All Actions Against Laboratory Corporation   HOLDINGS’ MOTION TO
   of America Holdings                          DISMISS



                                                Motion Date: July 5, 2022
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           Plaintiffs’ First Amended Consolidated Class Action Complaint (“FAC”) does

    nothing to remedy the deficiencies that prompted this Court to dismiss most claims

    asserted in the Consolidated Class Action Complaint (“CAC”). ECF 283; ECF 319.

    To be sure, Plaintiffs’ FAC attempt to plead around those defects. But the FAC

    remains riddled with flaws. Among other failings, the FAC continues to allege injuries

    this Court already found to be insufficient and fails to correct numerous other defects

    the Court identified—from failure to allege actionable deception to claim-specific

    infirmities. The two new causes of action Plaintiffs assert, breach of confidence and

    intrusion upon seclusion, are equally flawed. These claims simply do not apply where,

    as here, there was no affirmative disclosure of the information at issue. Because

    Plaintiffs’ claims fail as a matter of law despite a second bite at the apple, they should

    be dismissed with prejudice.

                                        BACKGROUND
           In dismissing all but three causes of action asserted in the CAC, the Court held

    that half the Plaintiffs “failed to establish their standing because they have failed to

    allege an injury-in-fact” and that numerous claims otherwise failed as a matter of law.

    Op., at 23. The Court granted Plaintiffs leave to file to “cure the deficiencies

    identified.” Id. at 69. The relevant allegations in Plaintiffs’ FAC—which re-asserts

    three common law claims and fourteen statutory claims the Court dismissed and

    asserts two new common law claims—remain unchanged. Labcorp’s systems were

    not impacted by the AMCA Cyberattack. See FAC ¶ 2. Labcorp did not send AMCA


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    Plaintiffs’ financial information. Id. ¶ 71. Plaintiffs do not allege that their email

    addresses, passwords, or usernames were impacted in the AMCA Cyberattack. Id. ¶

    86. Nor do Plaintiffs plausibly allege that test codes, diagnosis codes, or other

    medical information relating to them were held in the affected AMCA database. Id.

    ¶¶ 14-40. And Plaintiffs still do not allege that they paid Labcorp anything for the

    services they used. Id. ¶ 71. Plaintiffs have similarly realleged injuries that this Court

    found insufficient to confer Article III standing, including “expenses to prevent future

    identity theft,” “substantial risk of future” identity theft, “diminished . . . ‘value’ of

    their Personal Information,” and the “benefit of their bargain.” Op., at 17-20; see

    FAC ¶¶ 8, 9, 191, 307, 331, 349, 360, 387, 394, 405, 423.

                                          ARGUMENT
    I.     CERTAIN PLAINTIFFS STILL LACK ARTICLE III STANDING 1
           Despite revamping their allegations, twelve Plaintiffs still fail to allege facts

    sufficient to show any Article III injury that is “fairly traceable to the challenged

    action” and “concrete, particularized, and actual or imminent.” Clapper v. Amnesty Int’l

    USA, 568 U.S. 398, 409 (2013) (citation omitted). Specifically, Plaintiffs Lebon,

    Cuvillier, Judelsohn, Lassiter, Laufenberg, Nazemnikov, Rothwell, Scott, Thomas,

    Vazquez, and Wallach have not plausibly alleged that their purported harms are



    1
      Labcorp reserves its right to challenge the standing of all Plaintiffs and reasserts for
    preservation purposes the grounds for dismissal argued in its prior motion to dismiss,
    see Labcorp’s Br., ECF 148-1, but does not re-argue those points here.

                                                  2
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    traceable to the AMCA Cyberattack, and setting aside these purported harms, the

    same plaintiffs—as well as Plaintiff Allende—cannot satisfy Article III’s injury

    requirements. Op., at 17-20.

           A.     Plaintiffs Have Not Shown A Causal Connection
           The Plaintiffs identified above have not alleged a “causal connection” tying

    their purported injuries to Labcorp’s alleged conduct for several reasons. Lujan v.

    Defenders of Wildlife, 504 U.S. 555, 560-61 (1992).

           Failure to allege injuries occurring after August 2018. Four Plaintiffs do not

    allege that their purported injuries occurred after the AMCA Cyberattack, as this

    Court held was required to establish cognizable injury traceable to the Cyberattack.

    Op., at 20-21. Plaintiff Lebon “does not recall the details” of his alleged credit card

    fraud, including when it allegedly occurred. FAC ¶ 31. The same is true for Plaintiff

    Cuvillier, who alleges nothing about when she supposedly “had to close a credit card

    account and open a new one with a new number” and “experienced attempted theft

    of her highly confidential information” via spam calls. Id. ¶ 39. Plaintiffs Lassiter and

    Laufenberg likewise allege that their injuries occurred “in or around 2018,” but do not

    allege that their alleged injuries occurred after August 2018. 2 Id. ¶¶ 18 (Lassiter’s

    alleged injuries); 21 (Laufenberg’s alleged injuries); 2 (alleging the Cyberattack began in


    2
     Plaintiff Laufenberg alleges that her harm occurred within the “Data Breach
    window” “in or around 2018.” FAC ¶ 21. But the FAC does not define the term
    “Data Breach window” and, consequently, Plaintiffs have not sufficiently alleged that
    Laufenberg’s harm post-dated the AMCA Cyberattack.

                                                 3
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    August 2018). Plaintiffs Lebon, Cuvillier, Laufenberg and Lassiter therefore cannot

    rely on any of these alleged injuries to establish Article III standing.

           Failure to allege injuries traceable to the information allegedly affected in the

    AMCA Cyberattack. Plaintiffs Rothwell, Cuvillier, and Wallach allege injuries relating

    to spam or phishing emails and password compromises, see FAC ¶¶ 26, 33, 39, but

    these Plaintiffs do not allege that emails, passwords, or usernames were impacted in

    the AMCA Cyberattack. See FAC ¶¶ 6, 86. Nor do Plaintiffs attempt to allege how

    phishing emails or compromised passwords or usernames relate to data elements that

    were allegedly impacted. Plaintiffs therefore have not—and cannot—trace any

    alleged harms to the AMCA Cyberattack.3 See, e.g., Baysal v. Midvale Indem. Co., 2022

    WL 1155295, at *3 (W.D. Wis. Apr. 19, 2022) (no plausible allegations that identity

    theft “can be traced” to the data breach because the stolen information was

    insufficient to commit such theft); Antman v. Uber Techs., Inc., 2015 WL 6123054, at

    *11 (N.D. Cal. Oct. 19, 2015) (similar); In re Sci. Applications Int’l Corp. Backup Tape

    Data Theft Litig. (“SAIC”), 45 F. Supp. 3d 14, 31-32 (D.D.C. 2014) (similar).

           Similarly, Plaintiffs Lassiter, Nazemnikov, Laufenberg, Scott, Thomas,

    Vazquez, and Judelsohn cannot trace alleged injuries related to payment card and

    bank account misuse to the AMCA Cyberattack. Plaintiffs do not allege facts

    showing that they provided such information to Labcorp or AMCA. If Labcorp had


    3
     As discussed in Section II.B below, these Plaintiffs’ remaining alleged harms are not
    cognizable injuries under Article III, and they therefore lack standing.

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    such information, it would have had no need to send it to AMCA. And Plaintiffs do

    not say that they paid anything to Labcorp or AMCA. That is fatal. See, e.g., SAIC, 45

    F. Supp. 3d at 31 (no Article III standing based on alleged unauthorized charges

    where no allegations that plaintiffs’ financial information was stolen). Plaintiffs’

    cannot evade this pleading deficiency by pointing to generic references to the

    provision of “Personal Information” to AMCA. See FAC ¶¶ 18, 19, 21, 24, 30, 34, 38,

    71. There are no factual allegations showing that payment or banking information for

    these Plaintiffs’ was provided to AMCA or Labcorp or affected in the Cyberattack.

    See Fernandez v. Leidos, Inc., 127 F. Supp. 3d 1078, 1086 (E.D. Cal. 2015) (no standing

    where plaintiff failed to allege information necessary to commit fraud was stolen).

           Failure to allege dark web activity connected to the AMCA Cyberattack.

    Plaintiffs cannot fall back on allegations about dark web activity to satisfy Article III.

    Such allegations are unavailing because there is no allegation that the information

    impacted in the AMCA Cyberattack is the same information allegedly available for

    sale on the dark web. First, Lassiter and Wallach allege that items of “personal

    information” not impacted by the AMCA Cyberattack—including passwords and

    email addresses—were found on a dark web marketplace. FAC ¶¶ 18, 33. Second,

    Plaintiffs Lebon, Cuvillier, Lassiter, Laufenberg, Rothwell, and Wallach (like the other

    named Plaintiffs) allege that their “personal information” was “discovered for sale on

    a dark web marketplace,” without ever specifying what information was discovered or

    whether they provided it to Labcorp or AMCA. See id. ¶¶ 21, 26, 31, 39. Generic

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    allegations that unspecified information is on the dark web is insufficient to “plausibly

    allege a causal nexus” to the Cyberattack. Op., at 21. Third, because no Plaintiff

    alleges when their “personal information” was discovered for sale on the dark web,

    Plaintiffs also cannot trace this alleged injury to the AMCA Cyberattack. See id.

           B.     Plaintiffs Have Not Alleged Article III Injury
           After setting aside alleged harms that are not traceable to the AMCA

    Cyberattack, Plaintiffs Lebon, Cuvillier, Judelsohn, Lassiter, Laufenberg, Nazemnikov,

    Rothwell, Scott, Thomas, Vazquez, and Wallach, as well as Plaintiff Allende, only

    allege injuries that this Court has already held are insufficient to show Article III

    injury. FAC ¶¶ 18, 21, 26, 31, 33, 39, 40, 191.

           First, these Plaintiffs allege “mere risk of future harm,” which is “insufficient”

    to establish Article III standing. Op., at 11, 18 (citing TransUnion v. Ramirez, 141 S. Ct.

    2190, 2204, 2211 (2021); see also Baysal, 2022 WL 1155295, at *3 (“[T]he threat of

    future, speculative harm cannot satisfy Article III standing without more.”). None of

    these Plaintiffs allege the type of “particularized harm” the Court held is required to

    confer Article III standing. Op., at 18; see, e.g., FAC ¶¶ 31, 191.

           Second, these Plaintiffs’ alleged mitigation efforts remain insufficient for Article

    III injury. See, e.g., FAC ¶ 40, 191. The Court dismissed this theory of harm based on

    alleged “expenses to prevent future identity theft” without “particularized facts that

    would corroborate a fear of identity theft,” and the FAC adds no such alleged facts.

    Op., at 17 (citing Reilly v. Ceridian Corp., 664 F.3d 38, 46 (3rd Cir 2011)); see also Cooper


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    v. Bonobos, Inc., 2022 WL 170622, at *5 (S.D.N.Y. Jan. 19, 2022) (“[P]laintiffs ‘cannot

    manufacture standing merely by inflicting harm on themselves based on their fears of

    hypothetical future harm that is not certainly impending.’”).

           Third, this Court also has already rejected Plaintiffs’ “benefit of the bargain”

    theory of injury where, as here, there are no allegations “that Plaintiffs’ Personal

    Information was of any material economic value with respect to the services Plaintiffs

    received from Defendants.” Op., at 19; see also FAC ¶ 295. Plaintiffs still have not

    alleged that their information was of value to Labcorp with respect to the services

    they received. See Op., at 19-20. And Plaintiffs still do not allege that they paid for

    Labcorp’s services. See, e.g., Legg v. Leaders Life Ins. Co., 2021 WL 5772496, at *7 (W.D.

    Okla. Dec. 6, 2021) (rejecting benefit of the bargain theory because plaintiff had not

    “indicated that he paid any sort of premium” for data security or that the breach

    “diminished the value of the [] products he received”).

           Fourth, Plaintiffs’ assertion that they lost the “value of their privacy,” see, e.g.,

    FAC ¶ 231, is nothing more than an attempt to repackage the loss of value theory the

    Court rejected.4 Op., at 18-19. No facts alleged in the FAC show that Plaintiffs’

    privacy “diminished [in] value because of alleged inadequate data security.” Op., at

    20. This Court should join the numerous other courts that have rejected vague


    4
      To the extent Plaintiffs attempt to revive their loss of value of theory, see FAC ¶ 191,
    that effort fails too. To support such a theory, the Court held that Plaintiffs must
    allege that Labcorp “monetized” their personal information, Op., at 19, but there are
    no such allegations in the FAC.

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    allegations about loss of privacy as insufficient to show injury in fact. See, e.g., C.C. v.

    Med-Data Inc., 2022 WL 970862, at *10 (D. Kan. Mar. 31, 2022) (plaintiff’s “loss of

    privacy, in and of itself, is not a concrete harm” under Article III); Khan v. Children's

    Nat'l Health Sys., 188 F. Supp. 3d 524, 533 (D. Md. 2016) (same).

           These Plaintiffs therefore lack Article III standing and should be dismissed.

    II.    PLAINTIFFS’ COMMON LAW CLAIMS FAIL5

           A.     Multiple Plaintiffs’ Negligence and Negligence Per Se Claims Fail
           The negligence and negligence per se claims of twelve Plaintiffs should be

    dismissed because they have not alleged Labcorp’s conduct caused cognizable

    damages. In addition, all Plaintiffs’ negligence claims premised on a common law

    duty to notify should be dismissed because no such duty exists, and eighteen

    Plaintiffs’ negligence per se claims fail for additional reasons.

                  1.     Twelve Plaintiffs Fail to Allege that Labcorp Caused Cognizable
                         Damages
           Damages are an essential element of negligence and negligence per se claims

    regardless of which state’s law applies.6 “[I]t is crucial . . . not to conflate” this

    requirement with “Article III's requirement of injury in fact,” Carlsen v. GameStop, Inc.,



    5
      Labcorp reserves all rights to raise at an appropriate juncture the choice of law
    considerations that the Court found to be premature at this stage. See Op., at 23-25.
    While Labcorp believes those considerations show that the law of Plaintiffs’ home
    states should apply to their claims, see Labcorp’s Br., ECF 148-1, at 13-16, the Court
    need not engage in a choice of law analysis to dismiss Plaintiffs’ claims because, as
    described below, they fail as a matter of law regardless of what state’s law applies.
    6
      See Labcorp’s Br., ECF 148-5 (App. A summarizing negligence arguments).

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    833 F.3d 903, 909 (8th Cir. 2016), because the damages required to state a claim is a

    “higher” hurdle. Attias v. CareFirst, Inc., 365 F. Supp. 3d 1, 5 (D.D.C. 2019), on

    reconsideration in part, 518 F. Supp. 3d 43 (D.D.C. 2021). The allegations of harm for

    twelve Plaintiffs7 do not clear that bar and should be dismissed.

          That is especially true for Plaintiffs’ loss of value of privacy and benefit of the

    bargain theories of harm, which do not even satisfy Article III. See supra § I.B.

    Plaintiffs fail to allege facts showing that any purported loss of privacy amounted to

    actual damages. Nor do the allegations in the FAC show that Plaintiffs were denied

    any benefit of the bargain and thereby suffered damages. On the contrary, it is

    abundantly clear that Plaintiffs did not pay any consideration for the services from

    Labcorp, let alone pay “some amount attributable to data security.” Gardiner v.

    Walmart Inc., 2021 WL 2520103, at *6-7 (N.D. Cal. Mar. 5, 2021).

          Plaintiffs’ other allegations regarding lost time spent mitigating issues related to

    the AMCA Cyberattack, 8 purported discovery of their “personal information” for sale

    on the dark web, and instances of data misuse and attempted fraudulent activity, 9 also


    7
      Plaintiffs Buhr, Laufenberg, Haley, Rothwell, Kaplan, Lebon, Wallach, Wrenn,
    Thrower, Judelsohn, Cuvillier, and Allende.
    8
      See FAC ¶¶ 20 (Buhr); 21 (Laufenberg); 22 (Haley); 26 (Rothwell); 27 (Kaplan); 31
    (Lebon); 35 (Wrenn); 37 (Thrower); 38 (Judelsohn); 39 (Cuvillier); 40 (Allende).
    9
      See FAC ¶¶ 20 (Buhr) (unsuccessful attempts to open credit cards, allegation that her
    credit report was hacked, and blocked attempted charges to her debt card); (22
    (Haley) (received hard hits on her credit report); 26 (Rothwell) (uptick in phishing
    emails and unsuccessful extortion email); 27 (Kaplan) (credit was pulled); 33 (Wallach)
    (attempts to change passwords on accounts); 35 (Wrenn) (prevented credit card
    inquiry, failed attempts to open accounts in her name); 37 (Thrower) (unauthorized

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    do not clear the lower Article III hurdle and all involve potential future risks, not

    actual damages. See, e.g., Caudle v. Towers, Perrin, Forster & Crosby, Inc., 580 F. Supp. 2d

    273, 284 (S.D.N.Y. 2008) (courts “have uniformly ruled” that time and expense

    combatting increased risk of future identity theft is not “an injury that the law is

    prepared to remedy”); Pruchnicki v. Envision Healthcare Corp., 439 F. Supp. 3d 1226,

    1232 (D. Nev. 2020) (“Injuries that stem from the danger of future harm are

    insufficient to support a negligence action.”); Griffey v. Magellan Health Inc., 2021 WL

    4427065, at *5 (D. Ariz. Sept. 27, 2021) (attempted fraud amounts to “a threat of

    future injuries” that is not cognizable); Krottner v. Starbucks Corp., 406 F. App’x 129, at

    131 (9th Cir. 2010) (no damages where opening of unauthorized bank account did not

    result in unauthorized charges).

                  2.     Labcorp Did Not Owe Any Plaintiffs a Common Law Duty to
                         Notify
           Plaintiffs’ negligence claims based on an alleged duty to provide “timely and

    adequate notice of the Data Breach,” FAC ¶ 229, fail as a matter of law. In refusing

    to create such a duty, courts note that numerous data breach notification statutes

    already exist, many of which lack a private right of action. See Willingham v. Glob.

    Payments, Inc., 2013 WL 440702, at *18 (N.D. Ga. Feb. 5, 2013) (no common law


    credit inquiries); 38 (Judelsohn) (attempt to clone his credit card, failed attempt to
    charge his credit card); 39 (Cuvillier) (closed credit card, increased spam calls); 40
    (Allende) (no allegation). The remaining two Plaintiffs, Laufenberg and Lebon, FAC
    ¶¶ 21, 31, fail to connect their harms to the AMCA Cyberattack because they do not
    specifically allege when the purported harms took place. See § I.A supra.

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    notice requirement outside of data breach statute); Amburgy v. Express Scripts, Inc., 671

    F. Supp. 2d 1046, 1055 (E.D. Mo. 2009) (no cause of action “in negligence or

    otherwise” for alleged inadequate notice and court would “not create a claim where

    one does not exist”). Thus, regardless of the applicable state law, Plaintiffs’

    negligence claims based on an alleged duty to notify should be dismissed.

                  3.     Eighteen Plaintiffs’ Negligence Per Se Claims Fail
           The negligence per se claims of 18 Plaintiffs10 should be dismissed because

    across the potentially applicable states either (1) no such claim is recognized, or (2) it

    cannot be premised on alleged violation of Section 5 of the FTC Act or HIPAA.

           First, as the Court previously held, four states—Arkansas, California, Maryland,

    and Massachusetts—do not recognize negligence per se as an independent cause of

    action. Op., at 32-33.11 That holding applies with equal force to the FAC.

           Second, this Court also held that the laws of six other states do not allow a claim

    for negligence per se based on statutes without a private right of action, like HIPAA

    and Section 5 of the FTC. Id.12 That includes North Carolina law, see Hetzel v.

    JPMorgan Chase Bank, N.A., 2014 WL 7336863, at *7 (E.D.N.C. Dec. 22, 2014), which


    10
       Palmer; Lassiter; Nazemnikov; Buhr; Laufenberg; Rothwell; Kaplan; Shulman;
    Spencer; Thomas; Lebon; Gadero; Wallach; Vazquez; Harris; Thrower; and
    Judelsohn. Labcorp reserves its right to challenge the remaining negligence per se
    claims, including on the basis that negligence per se is not a proper cause of action
    under applicable law.
    11
       See FAC ¶¶ 17 (Arkansas); 18-19 (California); 27 (Maryland); 28 (Massachusetts).
    12
       See Id. ¶¶ 20-21 (Florida); 26 (Kentucky); 29-30 (Mississippi); 31 (New Jersey); 32-33
    (New York); 34-35 (North Carolina); 36-37 (Ohio); and 38 (Pennsylvania).

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    Plaintiffs assert should apply to all putative class members’ negligence per se claims.

    FAC ¶ 202. The same is true for New Jersey and Kentucky. See L.S. v. Mount Olive

    Bd. of Educ., 765 F. Supp. 2d 648, 652 (D.N.J. 2011) (“Plaintiffs’ claims [for negligence

    per se] under . . . HIPAA are dismissed because . . . HIPAA do[es] not provide for a

    private right of action.”); Young v. Carran, 289 S.W.3d 586, 588-89 (Ky. Ct. App. 2008)

    (holding that negligence per se claims based on violations of federal law, including

    HIPAA specifically, are impermissible). The FAC again includes only vague and

    conclusory allegations that Labcorp violated HIPAA and Section 5 of the FTC Act,

    which are the sole bases for Plaintiffs’ negligence per se claims. FAC ¶¶ 232-46.

    Thus, whether the applicable law is that of North Carolina or the home states of these

    Plaintiffs, the outcome is the same: Plaintiffs cannot pursue a negligence per se claim

    based on alleged violation of HIPAA or Section 5 of the FTC Act. The negligence

    per se claims for these eighteen Plaintiffs should be dismissed with prejudice.

          B.     Plaintiffs’ Breach of Confidence Claim Should Be Dismissed
          As a threshold and wholly dispositive issue, four of the sixteen states at issue in

    the FAC—including North Carolina—do not appear to even recognize breach of

    confidence as a cause of action, and an additional two states only recognize breach of

    confidence in trade secret matters, mandating dismissal of this cause of action under




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    the law of any of these states.13 See Fanning Certif., App. A. For the remaining ten

    states, Plaintiffs’ claim still fails because breach of confidence requires “the

    unconsented, unprivileged disclosure to a third party of nonpublic information.”

    Kamal v. J. Crew Grp., Inc., 918 F.3d 102, 114 (3d Cir. 2019); see also App. A.14

    “Disclosure” necessitates affirmative action on the part of the discloser. See, e.g., In

    re Brinker Data Incident Litig., 2020 WL 691848, at *22 (M.D. Fla. Jan. 27, 2020)

    (“[D]isclosure” is an “act or process.”); cf. In re Anthem, Inc. Data Breach Litig., 162 F.

    Supp. 3d 953, 1002-03 (N.D. Cal. 2016) (“[I]n order to “disclose” something, the

    information holder must commit some affirmative, voluntary act.”).

           As a result, numerous courts have held that information stolen from a party in

    a cyberattack does not constitute “disclosure” to support a breach of confidence

    claim. See, e.g., Farmer v. Humana, Inc., 2022 WL 732126, at *7 (M.D. Fla. Jan. 25, 2022)

    (no breach of confidence claim “where a defendant’s inadequate security facilitated

    the theft of information by third-parties.” (internal quotations omitted)); In re Brinker

    Data Incident Litig., 2020 WL 691848, at *22 (dismissing breach of confidence claim

    because defendant “did not do any act that made Plaintiffs’ information known—the

    information was stolen by third-parties”); Gaddy v. Long & Foster Cos., 2022 U.S. Dist.



    13
       Labcorp is not aware of an Arkansas, Kentucky, Maryland, or North Carolina case
    recognizing such a claim. Nor is Labcorp aware of a Kansas or Texas case
    recognizing such a claim outside of the trade secret context.
    14
       There are other state-specific reasons why Plaintiffs’ breach of confidence cause of
    action fails, and Labcorp expressly reserves these arguments.

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    Lexis 46657, at *31 (D.N.J. Mar. 15, 2022) (same); In re Ambry Genetics Data Breach

    Litig., 2021 WL 4891610, at *8 (C.D. Cal. Oct. 18, 2021) (same); Foster v. Health

    Recovery Servs., Inc., 493 F. Supp. 3d 622, 635 (S.D. Ohio 2020) (same).

          The same is true here. No facts alleged in the FAC show that Labcorp

    affirmatively disclosed Plaintiffs’ information to the threat actors behind the AMCA

    Cyberattack. Nor can Plaintiffs state a breach of confidence claim based on

    Labcorp’s “disclosure” of information to AMCA, as Plaintiffs allege no facts showing

    that transmission of information to AMCA for purposes of collecting debts was an

    unconsented to and unlawful disclosure to a third party. Plaintiffs cannot escape

    these flaws by simply repeating the word “disclosure,” see FAC ¶¶ 248-251, which is

    an unadorned, naked assertion insufficient under Ashcroft v. Iqbal, 556 U.S. 662 (2009).

    Indeed, Plaintiffs’ assertion that an “unauthorized disclosure occurred” because

    Labcorp “failed to implement and maintain reasonable safeguards” sounds “in

    negligence not breach of confidence.” In re Brinker Data Incident Litig., 2020 WL

    691848, at *22. Plaintiffs’ claim for breach of confidence should be dismissed.

          C.     Plaintiffs’ Intrusion Upon Seclusion Claim Should Be Dismissed
          Plaintiffs’ intrusion upon seclusion claim fails for similar reasons. Across the

    potentially applicable state laws, intrusion upon seclusion requires an intentional

    act—an intrusion into the private matters of another. See Fanning Certif., App. B.

    For this reason, courts hold that alleged negligent conduct is insufficient, and regularly

    dismiss intrusion upon seclusion claims in cases, like here, where a third party stole


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    the data. See, e.g., Allgood v. PaperlessPay Corp., 2022 WL 846070, at *12 (M.D. Fla. Mar.

    22, 2022); Randolph v. ING Life Ins. & Annuity Co., 973 A.2d 702, 711 (D.C. 2009).

    Plaintiffs have not and cannot allege facts showing that Labcorp—as opposed to the

    threat actors here—intentionally invaded their privacy. See e.g., Dugas v. Starwood Hotels

    & Resorts Worldwide, Inc., 2016 WL 6523428, at *12 (S.D. Cal. Nov. 3, 2016) (no

    allegations that data breach was “an intentional violation” of plaintiff’s privacy).

           Plaintiffs try to elide this precedent by asserting in conclusory fashion that

    Labcorp “disclos[ed]” their information “without permission” to a third party

    purportedly “unequipped and unable” to keep it secure, which “enabl[ed]” the

    “disclosure” of that information. FAC ¶¶ 254-255. This contortion about supposedly

    impermissible disclosures that enabled other disclosures is not the intentional act that

    the claim requires. As the Third Circuit has made clear, “an actor commits an

    intentional intrusion [upon seclusion] only if he believes, or is substantially certain,

    that he lacks the necessary legal or personal permission to commit the intrusive act.”

    O'Donnell v. United States, 891 F.2d 1079, 1083 (3d Cir. 1989). Plaintiffs do not allege

    that Labcorp believed it lacked—or actually lacked—the legal authority to collect

    unpaid bills by using debt collections services. On the contrary, Plaintiffs allege that

    Labcorp charges for services it provides to patients, and when Plaintiffs did not pay

    for those services, Labcorp refers the unpaid bills to AMCA. FAC ¶¶ 17-40, 48-50.

           Plaintiffs also cannot meet another required element that cuts across potentially

    applicable state laws: the intrusion must be at least highly offensive. See, e.g., Stengart v.

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    Loving Care Agency, Inc., 990 A.2d 650, 659 (N.J. 2010); see also Fanning Certif., App. B.

    Plaintiffs do not allege facts showing that sending information to a debt collector after

    non-payment is a highly offensive intrusion into their private affairs. The threat

    actors’ alleged access to information held by a debt collector does not transform

    Labcorp’s transfer of data to that debt collector into an intentional and offensive

    intrusion.

           D.     Plaintiffs’ Unjust Enrichment Claim Should Be Dismissed
           Plaintiffs’ unjust enrichment claim fares no better. The Court previously

    dismissed this cause of action because Plaintiffs “allege[d] no facts showing that

    Defendants h[ad] been enriched.” Op., at 33. In particular, the CAC contained “no

    facts showing how Defendants reaped monetary benefits or otherwise profited from

    Plaintiffs’ Personal Information.” Id. at 34. The FAC suffers from the same

    fundamental flaw. Plaintiffs allege that because of Labcorp’s purported deceptive

    conduct, it was able to sell “more services than it otherwise would have,” “charging

    for and collecting for those services.” FAC ¶ 266. But there still are no allegations in

    the FAC that these Plaintiffs (or anyone else) paid Labcorp for any services,

    regardless of what services Plaintiffs received or what Labcorp charged. See id. ¶¶ 17-

    40. Despite four plaintiffs alleging they received collection notices from AMCA, see

    id. ¶¶ 21, 23, 31, 40, none allege they paid anything. Nor are there allegations that

    Labcorp received “any additional value” for Plaintiffs’ information. Op., at 34.

    Claims that Plaintiffs used Labcorp’s services and had their information sent to


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    AMCA for failure to pay for those services does not show enrichment.

           Plaintiffs’ claim also should be dismissed because (1) Plaintiffs have not alleged

    that any supposed enrichment came at their expense, and (2) to the extent any

    enrichment occurred, Plaintiff have not sufficiently alleged that it was unjust. No

    facts alleged in the FAC show that Plaintiffs suffered any detriment. 15 On the

    contrary, Plaintiffs obtained services from Labcorp without paying for those services.

    Nor do Plaintiffs allege that after providing information to Labcorp they could no

    longer use or monetize that information. See Mount v. PulsePoint, Inc., 2016 WL

    5080131, at *6 (S.D.N.Y. Aug. 17, 2016) (rejecting unjust enrichment claim based on

    alleged misappropriation of the value of plaintiffs’ information), aff’d, 684 F. App’x 32

    (2d Cir. 2017), as amended (May 3, 2017).

           Likewise, even if Labcorp received some benefit at Plaintiffs’ expense, any

    enrichment was not unjust. See Williams v. Williams, 323 S.E.2d 463, 465 (N.C. Ct.

    App. 1984) (finding enrichment as the expense of another is insufficient, as “‘[t]here

    must be some added ingredients to invoke the unjust enrichment doctrine.’” (citation

    omitted)). Labcorp provided healthcare services to Plaintiffs, and no Plaintiffs alleges

    that they did not receive such services. See e.g., Brush v. Miami Beach Health Care Grp.,

    238 F. Supp. 3d 1359, 1369 (S.D. Fla. 2017) (no unjust enrichment where plaintiff

    “transacted to receive healthcare services from the Defendants—not data security


    15
     See Labcorp’s Br., ECF 148-8 (App. D – Column: Basis for Recover: Enrichment
    was at Plaintiff’s Expense).

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    services”); Irwin v. Jimmy John’s Franchise, LLC, 175 F. Supp. 3d 1064, 1072 (C.D. Ill.

    2016) (similar). Any benefit conferred on Labcorp was fairly received in exchange for

    the services provided to each Plaintiff. FAC ¶¶ 14-42; see e.g., In re Zappos.com, Inc.

    Customer Data Sec. Breach Litig., 2013 WL 4830497, at *5 (D. Nev. Sept. 9, 2013) (no

    unjust enrichment where plaintiffs “bestowed the benefit of their purchase . . . [and]

    [d]efendant provided [p]laintiffs a benefit in return (providing the goods)”).

    III.   PLAINTIFFS’ STATUTORY CLAIMS SHOULD BE DISMISSED
           A.     Plaintiffs’ California Confidentiality of Medical Information Act
                  Fails
           Plaintiffs’ statutory claims suffer from the same fundamental flaws that led this

    Court to dismiss them before, starting with Plaintiffs’ California Confidentiality of

    Medical Information Act (“CMIA”) claim. The Court previously held that Plaintiffs

    failed to allege facts sufficient to show that their “medical information” was viewed or

    accessed by an unauthorized person as required under the CMIA. Op., at 63-64.

    Plaintiffs’ renewed CMIA claim suffers from the same defect and should be dismissed

    again. Plaintiffs’ claim also should be dismissed for a reason the Court did not need

    to reach before: the statute expressly authorizes health providers like Labcorp to

    disclose medical information to billing entities and does not impose liability based on

    the recipient entities’ subsequent conduct.

           This Court correctly held that the CAC “fail[ed] to allege that ‘medical

    information,’ as contemplated by the CMIA, was stolen.” Op., at 63. As the Court



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    explained, “the information allegedly compromised . . . is not the type of information

    protected by the CMIA,” id. at 64, which is limited to information “regarding a

    patient’s medical history, mental or physical condition, or treatment.” Id. at 63; Cal.

    Civ. Code § 56.05(i). “Absent factual allegations that the information compromised

    involved Plaintiffs’ medical history and treatment programs, [Plaintiffs] fail to state a

    claim for relief under the CMIA.” Op., at 64; see also Wilson v. Rater8, LLC, 2021 WL

    4865930, at *5 (S.D. Cal. Oct. 18, 2021) (finding treating physician names, medical

    treatment appointment information, and medical treatment discharge dates and times

    were not “substantive” medical information under the CMIA).

           The FAC does not allege facts showing that the named Plaintiffs’ medical

    information was compromised; nor does it allege that medical information for the

    named Plaintiffs was provided by Labcorp to AMCA or stored in AMCA’s affected

    Champ database. See FAC ¶ 18 (alleging that Labcorp only provided Plaintiff

    Lassiter’s “personal information”16 to AMCA); FAC ¶ 19 (same, as to Plaintiff

    Nazemnikov). That is fatal. See, e.g., O’Shea v. Littleton, 414 U.S. 488, 494 (1974)


    16
      Plaintiffs define “Personal Information” as “protected health information . . . and
    personally identifiable information . . . such as . . . names, mailing addresses, phone
    numbers, dates of birth, Social Security numbers (‘SSNs’), information related to
    Plaintiffs’ and Class Members’ medical providers and services (such as dates of service
    and referring doctor) and other private information, such as credit and debit card
    numbers, bank account information, insurance, and insurance subscriber
    identification numbers.” FAC ¶ 6. This information is not “medical information”
    under the CMIA. See Op., at 63-64 (“Personal Information” allegedly impacted is not
    “medical information”); Eisenhower Med. Ctr. v. Super. Ct., 226 Cal. App. 4th 430, 435-
    36 (2014); Wilson, 2021 WL 4865930, at *5.

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    (plaintiff who cannot assert a claim against defendant may not “seek relief on behalf

    of himself or any other member of the class”).

          Ignoring these foundational flaws, the FAC nonetheless implausibly and

    summarily alleges that “medical information compromised included . . . information

    related to Plaintiff’s and California Subclass members’ medical treatment, such as tests

    ordered, ordering physician, and ICD [diagnostic] Codes.” FAC ¶ 277. The FAC

    does not allege facts showing how medical information could have been

    compromised—let alone viewed or accessed17—for the named Plaintiffs when the

    information that Labcorp sent to AMCA to facilitate collections did not include their

    medical information, and Plaintiffs never allege that such information for Labcorp

    patients was held in the affected Champ database.

          What is more, the notification letters Plaintiffs allege they received from

    Labcorp, see FAC ¶¶ 18-19, confirm that the data transmitted to AMCA to facilitate

    collections, which was stored in AMCA’s Champ database, did not include medical

    information.18 See Fanning Certif., Ex. 1, Sample Labcorp Notice Letter (July 20,


    17
       Plaintiffs must plead not only that their medical information was compromised, but
    also that it was “improperly viewed or otherwise accessed.” Sutter Health v. Super Ct.,
    227 Cal. App. 4th 1546, 1558 (2014) (“That the records have changed possession even
    in an unauthorized manner does not mean they have been exposed to the view of an
    unauthorized person.”).
    18
       At least 26 Plaintiffs allege that they received a data breach notification letter from
    Labcorp but Plaintiffs do not attach those letters to the FAC. See FAC ¶¶ 11-41. The
    Court may consider an “undisputedly authentic document that a defendant attaches as
    an exhibit to a motion to dismiss if the plaintiff’s claims are based on the document”
    without converting the motion into one for summary judgment. In re Donald J. Trump

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    2019) (“No ordered tests, laboratory test results, or diagnostic information were in the

    AMCA affected system.”).

           Plaintiffs try to elide these flaws and manufacture a CMIA claim in two ways.

    First, they cite documents that suggest Labcorp had the option of providing

    customers’ health or medical information to AMCA. See FAC ¶ 59 (citing an AMCA-

    Labcorp agreement that allows for the possibility that medical information could be

    provided to AMCA); id. ¶ 60 (citing an AMCA-Labcorp agreement addendum that

    allegedly includes oversight mechanisms for protected health information though not

    necessarily “medical information”); id. ¶ 62 (citing AMCA’s suggested list of billing

    placement data elements, which in any event did not include “medical information”

    under the CMIA). But whether Labcorp could have sent AMCA medical

    information for the named Plaintiffs does not plausibly show that it did so,

    particularly when the other allegations in the FAC suggest that Labcorp did not.

           Second, Plaintiffs cite documents that contain information about tests ordered

    and diagnostic codes. See FAC ¶ 2 n.1. Critically, nothing in the FAC connects this

    information to the named Plaintiffs. Id. The information also is separate from the

    files that Labcorp generated from its billing system when referring unpaid bills for

    collection, FAC ¶ 50, which in turn, were stored in AMCA’s affected Champ

    database. See FAC ¶¶ 61, 77. Indeed, there are no allegations that these files, or any


    Casino Sec. Litig.-Taj Mahal Litig., 7 F.3d 357, 368 n.9 (3d Cir. 1993) (quotations
    omitted).

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    similar document or information gleaned from them, was ever stored in the affected

    Champ database. Id.; see also FAC ¶ 62 (citing AMCA email attaching requisition

    PDFs for a non-Plaintiff customer).

           At bottom, Plaintiffs’ CMIA claim is predicated on discrete documents that

    have nothing to do with the named Plaintiffs and are at odds with the FAC’s

    allegations about what data Labcorp sent to AMCA in the regular course (not medical

    information) and what data was housed in the Champ database (not medical

    information). See FAC ¶ 61 (“LabCorp provided AMCA with Personal Information

    regarding LabCorp’s patients in order to facilitate the bill-collection process.”).

    Plaintiffs still have not plausibly alleged that their medical information was impacted,

    and their CMIA claim should be dismissed for this reason.

           Even if Plaintiffs’ medical information was impacted (and it was not), their

    CMIA claim still fails for additional reasons the Court did not reach before: (1)

    Labcorp’s provision of information to AMCA for billing purposes was expressly

    authorized by the statute, and (2) AMCA’s subsequent actions or omissions do not

    amount to disclosure under the CMIA and cannot otherwise create liability for

    Labcorp. First, Plaintiffs cannot overcome the CMIA’s express authorization for a

    health provider—which Plaintiffs allege that Labcorp is, see FAC ¶ 274—to disclose

    medical information to an “entity that provides billing, claims management, medical

    data processing, or other administrative services.” Cal. Civ. Code § 56.10(c)(3).

    Labcorp’s release of information to AMCA, a billing services provider, was clearly

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    permissible under the plain language of the statute. Id.

           Second, the statute provides that this information “shall not be further

    disclosed by the recipient,” id., and the recipient, AMCA, did not affirmatively

    “disclose” the information to the threat actors. Sutter Health, 227 Cal. App. 4th at

    1556 (explaining that “disclosure” under Section 56.10 requires an “affirmative

    communicative act,” which does not occur if the information is stolen). Moreover,

    nowhere does the CMIA impose liability for a health provider based on subsequent

    actions or omissions of a billing service recipient. See, e.g., Atlas Res., Inc. v. Liberty Mut.

    Ins. Co., 2010 WL 11552917, at *7 (D.N.M. Jun. 24, 2010) (highlighting that the CMIA

    “expressly permits disclosure” to certain entities, including those “that provide billing

    . . . services”). Nor does the statute provide that a health provider has a duty to

    protect the systems of a third party. Cf. Cal. Civ. Code § 56.101(a) (imposing

    requirements on a health provider to preserve the confidentiality of information that

    it holds). This Court should reject Plaintiffs’ invitation to read additional duties into

    the statute where the California legislature and state courts have not done so.

           B.     Plaintiffs’ Statutory Claims Fail for Lack of Injury and Causation
                  1.      Plaintiffs Fail to Allege Cognizable Injury
           Plaintiffs’ other statutory claims based on nine consumer protection laws and

    four notification and data security statutes require them to show that they suffered




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    actual harm. All but one named Plaintiff fails to satisfy this essential requirement. 19

           Future Risk. Plaintiffs’ allegations of an “imminent and significant risk of

    identity theft, financial fraud, and other identity theft into the indefinite future,” see,

    e.g., FAC ¶ 7, are “not sufficient to allege ‘lost money or property’” as many states

    require.20 In re Yahoo! Inc. Customer Data Sec. Breach Litig., 2017 WL 3727318, at *22

    (N.D. Cal. Aug. 30, 2017) (dismissing California Unfair Competition Law (“UCL”)

    claim).21 This “hypothetical” harm also is not sufficiently “quantifiable or

    measurable” to qualify as “ascertainable loss” 22 or satisfy other states’ “actual injury”

    or damages requirements. 23 Allegations that Plaintiffs’ “personal information” was


    19
       The Court previously found that Massachusetts Plaintiff Shulman alleged sufficient
    injuries under the state consumer protection statute. Labcorp reserves all rights to
    challenge this conclusion on appeal, and through further litigation, but does not move
    to dismiss Plaintiff Shulman’s statutory claim on this basis. As discussed below, the
    Court should again dismiss Shulman’s claim to the extent it is based on alleged
    deceptive misrepresentations and omissions. See Op., at 59.
    20
       Joseph v. Nordstrom, Inc., 2016 WL 6917279, at *3 (C.D. Cal. Jun. 17, 2016) (California
    Consumer Legal Remedies Act (“CLRA”) requires “economic injury”).
    21
       This Court held that Plaintiff Nazemnikov’s UCL claim failed because he had not
    adequately alleged reliance or that Labcorp had correspondingly benefitted. See Op.,
    at 57-58. The Court also noted that Plaintiff Nazemnikov failed to plead “a likelihood
    of redressable future harm,” but did not squarely address whether a risk of future
    harm could satisfy the UCL. Id. at 58. It cannot.
    22
       Holmes, v. Countrywide Fin. Corp., 2012 WL 2873892, at *11, *14 (W.D. Ky. July 12,
    2012) (finding no injury under Kentucky law’s “ascertainable loss” requirement); Hall
    v. Equifax Info. Servs. LLC, 204 F. Supp. 3d 807, 812 (E.D. Pa. 2016) (dismissing
    Pennsylvania claim absent “an actual, non-speculative, loss of money or property”).
    23
       Hammond v. Bank of N.Y. Mellon Corp., 2010 WL 2643307, at *12-13 (S.D.N.Y. Jun.
    25, 2010) (dismissing New York and California claims based on “increased risk of
    identity theft”); Attias, 365 F. Supp. 3d at 13 (same under Maryland law); Stein v. Sprint
    Corp., 22 F. Supp. 2d 1210, 1216 (D. Kan. 1998) (Kansas requires that plaintiff
    “suffered an injury”), on reconsideration (Aug. 27, 1998).

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    “discovered for sale on a dark web marketplace” is insufficient as well. FAC ¶¶ 18,

    19, 25-28, 32, 33, 38, 40; In re Yahoo!, 2017 WL 3727318, at *22 (allegations that data

    found for sale on dark web “is not sufficient to allege ‘lost money or property’ under

    the UCL”).

           Mitigation. Plaintiffs’ allegations that they spent time reviewing credit

    statements or monitoring their credit, see FAC ¶¶ 18, 19, 25, 26, 27, 28, 32, 33, 38, 40,

    and that some purchased or otherwise obtained password or credit monitoring

    services, FAC ¶¶ 17, 18, 33, are not enough for Article III standing, Op., at 14, much

    less states’ statutory injury requirements. Indeed, “[i]n the context of data breach

    litigation, courts have consistently held that a plaintiff may not use mitigation costs

    alone to establish a cognizable injury in fact.” Chambliss v. Carefirst, Inc, 189 F. Supp.

    3d 564, 571 (D. Md. 2016). Regardless of the applicable injury requirement—whether

    economic injury or damages,24 ascertainable loss,25 pecuniary loss,26 or actual damages

    or injury27—voluntary mitigation measures against speculative, future harm are

    insufficient.


    24
       In re Sony Gaming Networks & Customer Data Sec. Breach Litig., 903 F. Supp. 2d 942,
    966 (S.D. Cal. 2012) (mitigation measures insufficient under the UCL and CLRA).
    25
        Holmes, 2012 WL 2873892, at *11, *14 (“time” monitoring credit and credit
    monitoring fees not “ascertainable loss[es]” under Kentucky law); see also Gupta v. Asha
    Enterprises, L.L.C., 27 A.3d 953, 960 (N.J. App. Div. 2011) (“cost of cure” allegations
    insufficient unless underlying injury is a “loss of moneys or property”).
    26
        Compare Mueller v. Harry Kaufmann Motorcars, Inc., 859 N.W.2d 451, 459 (Wis. Ct.
    App. 2014) (Wisconsin requires “monetary loss”) with FAC ¶ 40 (not alleging any).
    27
       Shafran v. Harley–Davidson, Inc., 2008 WL 763177, at *2-3 (S.D.N.Y. Mar. 20, 2008)
    (finding “time and money . . . spent to guard against identity theft,” including credit

                                                 25
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           Privacy. This Court has already held that Plaintiffs’ alleged loss of the “value of

    their” information, FAC ¶ 191(a); see also id. ¶ 307, 331, 349, 360, 394, 405, 423, does

    not rise to the level of an Article III injury. Op., at 19; see also In re Google Inc. Cookie

    Placement Consumer Privacy Litig.. 806 F.3d 125, 149, 152 (3d. Cir. 2015) (rejecting loss

    of value theory where plaintiffs did not allege “that they ever participated or intended

    to participate in” any market for their information or that defendant “prevented them

    from capturing the full value” of that information). Courts have similarly dismissed

    loss of value and related loss of privacy allegations as insufficient to show

    “ascertainable loss,”28 actual damages,29 or “economic injury.”30

           Benefit of the Bargain. Plaintiffs’ allegations that they have lost “the benefit of

    their bargain with Defendant as they would not have paid Defendant for goods and

    services or would have paid less for such goods and services but for Defendant’s

    [alleged] violations” also fail. See FAC ¶¶ 295, 307, 331, 349, 360, 394, 405, 423. The

    Court has already dismissed this theory in the context of Article III standing, Op., at


    monitoring, were not cognizable injuries under New York law); Finstad v. Washburn
    Univ. of Topeka, 845 P.2d 685, 691 (Kan. 1993) (consumer must be “aggrieved,” by an
    invasion of their “legal right” or a direct effect on their “pecuniary interest”).
    28
       Steinberg v. CVS Caremark Corp., 899 F. Supp. 2d 331, 339 (E.D. Pa. 2012) (noting
    that Pennsylvania law requires an “ascertainable loss of money or property” and
    rejecting “loss of the value” of PII as sufficient injury).
    29
       In re Sony Gaming Networks & Customer Data Sec. Breach Litig., 996 F. Supp. 2d 942,
    1003-1004 (S.D. Cal. 2014) (neither loss of value of PII nor loss of privacy qualify as
    “actual harm” under New York law); Khan, 188 F. Supp. 3d at 533-34 (rejecting both
    loss of value and loss of privacy).
    30
       See Campbell v. Facebook Inc., 77 F. Supp. 3d 836, 849 (N.D. Cal. 2014) (loss of value
    of PII and loss of privacy are not injuries under the UCL).

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    19,31 and it should do the same here with respect to Plaintiffs’ statutory claims. The

    FAC still does not allege that “Plaintiffs’ Personal Information was of any material

    economic value with respect to the services Plaintiffs received,” id.; nor is this type of

    injury cognizable where Plaintiffs did not pay for the services they received. In re

    Google Assistant Priv. Litig., 457 F. Supp. 3d 797, 834 (N.D. Cal. 2020) (“[I]t cannot be

    said that Plaintiffs received less than what they paid for—they appeared to have paid

    nothing”). And, in any case, Plaintiffs have not alleged that the value of the services

    they received was diminished by the AMCA Cyberattack. 32

           Alleged Data Misuse. In addition to the speculative harms discussed above,

    certain Plaintiffs allege forms of potential identity theft, such as unauthorized credit

    card transactions and unsolicited emails. None of these allegations show cognizable

    injury under Plaintiffs’ respective state consumer protection acts.

           Five Plaintiffs allege unauthorized bank account, credit, or debit charges, see

    FAC ¶¶ 18 (Lassiter), 19 (Nazemnikov), 25 (Finch), 32 (Gadero); 38 (Judelsohn),33 but


    31
       Indeed, Plaintiffs alleged that AMCA “did not need to access Plaintiffs’ PHI to
    collect payments.” FAC ¶ 131.
    32
       See Chambliss, 189 F. Supp. 3d at 572 (benefit of the bargain theory “is consistently
    rejected in data breach cases where plaintiffs have not alleged that the value of the
    goods or services they purchased was diminished as a result of the data breach”); see
    also Med-Data Inc., 2022 WL 970862, at *9 (similar); Attias, 365 F. Supp. 3d at 13, on
    reconsideration in part, 518 F. Supp. 3d 43 (D.D.C. 2021) (rejecting Plaintiffs’ benefit of
    the bargain theory).
    33
       These Plaintiffs bring claims under California, Kansas, New York, and Pennsylvania
    law. Other Plaintiffs, see, e.g., FAC ¶ 30 (Thomas), also fail to allege actual loss from
    unauthorized charges, but they reside in states under whose laws Plaintiffs do not
    assert consumer protection act claims.

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    none assert that they lost any money as a result of the unauthorized charges. See id.

    Indeed, there is no “reasonable [inference]” of any economic loss in such

    circumstances because “federal law and card-issuer contracts ordinarily absolve the

    consumer from any obligation to pay the fraudulent charge.” In re SuperValu, Inc.

    Customer Data Sec. Breach Litig., 925 F.3d 955, 964-65 (8th Cir. 2019) (such allegations

    insufficient to show “actual damages” under consumer protection statutes); Dugas,

    2016 WL 6523428, at *4 (unauthorized but reimbursed charges did not satisfy as “loss

    of money or property” under California UCL); Benner v. Bank of Am., N.A., 917 F.

    Supp. 2d 338, 360 (E.D. Pa. 2013) (plaintiff must “point to money or property that he

    would have had but for” the attempted fraud to sustain a claim under the

    Pennsylvania statute). 34 Similarly, Plaintiff Kaplan has not alleged any out-of-pocket

    expenses or other loss as a result of the alleged credit card inquiries. See FAC ¶ 27;

    Kimbriel v. ABB, Inc., 2019 WL 4861168, at *3 (E.D.N.C. Oct. 1, 2019) (credit inquiries

    not an injury-in-fact because they did not “plausibly show that plaintiffs’

    compromised data is being used or that future use . . . is ‘certainly impending’”).

          Plaintiffs’ remaining injury allegations are likewise unavailing. New York

    Plaintiff Wallach alleges that there were attempts to change her passwords, FAC ¶ 33,

    but Plaintiffs do not allege that passwords were impacted in the AMCA Cyberattack,

    and these allegations also boil down to “a perceived risk of future injury” that is not


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     See also Labcorp’s Br., ECF 148-9 (App. E – injury required for California, New
    York, and North Carolina statutes).

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    cognizable under New York law. Shafran, 2008 WL 763177, at *3; see also Willey v. J.P.

    Morgan Chase, N.A., 2009 WL 1938987 at *9 (S.D.N.Y. July 7, 2009). Plaintiff

    Rothwell’s allegation that he received “threatening phishing emails”—another data

    element not alleged to be impacted by the Cyberattack, see supra § I.B—does not rise

    to an “ascertainable loss of money or property” under the Kentucky Consumer

    Protection Act. Barnett v. First Nat’l Bank of Omaha, 2022 WL 627028, at *8 (W.D. Ky.

    Mar. 3, 2022). Plaintiff Kaplan’s allegation that she “received alerts from fraud

    monitoring products” is insufficient under the Maryland Consumer Protection Act,

    FAC ¶ 27, because she does not allege an “identifiable loss” as the statute requires.

    Attias, 365 F. Supp. 3d at 13.

          Notification. Plaintiffs’ state data breach notification and data security claims

    also require a showing of actual injury. See, e.g., Md. Code Ann. Com. Law § 13-408;

    In re Sony, 996 F. Supp. 2d at 1010 (“[A] plaintiff must allege actual damages flowing

    from the unreasonable delay.”). These claims should be dismissed because Plaintiffs

    do not allege injury caused by any alleged deficiency in notification—FAC ¶¶ 18, 19,

    25, 26, 27, 40—as opposed to the AMCA Cyberattack generally. See, e.g., Corona v.

    Sony Pictures Ent., Inc., 2015 WL 3916744, at *5 (C.D. Cal. Jun. 15, 2015) (dismissing

    breach notification claim for failure to allege injury from deficient notice); Antman v.

    Uber Techs., Inc., 2015 WL 6123054, at *11 (N.D. Cal. Oct. 19, 2015) (same).

                 2.     Plaintiffs Fail to Allege Causation
          As with Plaintiffs’ common law claims, causation is an essential element of each


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    of Plaintiffs’ state consumer protection act claims, see, e.g., Joseph, 2016 WL 6917279, at

    *3 (California UCL); Ky. Rev. Stat. § 367.220(1); see also Labcorp’s Br., ECF 148-9

    (App. E chart summarizing consumer protection law arguments), and state data

    breach notification or security claims, see supra § III.B. And for the same reasons that

    certain Plaintiffs cannot satisfy Article III’s traceability requirement, see supra § I.A,

    their statutory claims should also be dismissed for failure to allege that Labcorp

    caused any of Plaintiffs’ alleged injuries. 35

           C.     Plaintiffs’ Consumer Protection Act Claims Fail for Additional
                  Reasons
           In addition to failing to satisfy injury and causation requirements, Plaintiffs’

    statutory claims suffer from additional deficiencies that merit dismissal.

                  1.      Plaintiffs Cannot State a Claim Based on Alleged
                          Misrepresentations or Omissions
           This Court dismissed several consumer protection act claims in the CAC for

    failure to plead that Plaintiffs relied on or were otherwise misled by any actionable

    misrepresentation or omission. See Op., at 56-57, 60. In the FAC, Plaintiffs’

    consumer protection claims are primarily based on Labcorp’s purported failure to

    disclose that it did not reasonably secure Plaintiffs’ information, ensure its vendors

    reasonably secured such information, or comply with certain legal obligations. See




    35
      FAC ¶¶ 18 (Lassiter); 19 (Nazemnikov); 21 (Laufenberg); 24 (Scott); 26 (Rothwell);
    30 (Thomas); 31 (Lebon); 33 (Wallach); 34 (Vazquez); 38 (Judelsohn); 39 (Cuvillier).

                                                     30
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    FAC ¶¶ 294, 305, 327, 347, 359, 393, 403, 422.36 These statutory claims fail as a

    matter of a law for several reasons.

                         a.     Plaintiffs Fail to Plead Fraud or Deception with Particularity
           As this Court held, Plaintiffs’ allegations of “misrepresentation and knowing

    omissions” must meet Rule 9(b)’s heightened pleading standard. See Op., at 40-41.

    Plaintiffs, however, still fail to identify any specific misrepresentation or omission

    made to them by Labcorp. For example, Plaintiff Shulman “believes she reviewed

    Labcorp’s privacy policies,” but fails to state what those policies said and what part of

    those policies contains alleged misrepresentations or omissions. FAC ¶ 28. See, e.g.,

    Griffey, 2021 WL 4427065, at *13 (dismissing claim because plaintiff failed to explain

    “how or why [defendant’s] policy was misleading, noncompliant, or inadequate”).

    Because the FAC does not even cite Labcorp’s alleged statements, Plaintiffs’

    misrepresentation and omission-based claims fall far short of Rule 9(b)’s

    requirements. See Op., at 40.

                         b.     Lack of Reliance or Likely Deception
           This Court previously dismissed Plaintiffs’ CLRA, UCL, Pennsylvania, and

    New York statutory claims for failure to plead that they “read any data privacy


    36
      Plaintiffs appear to have abandoned their theory that Labcorp misrepresented its
    oversight of AMCA, instead relying upon allegations that Labcorp did not disclose
    “that it did not reasonably ensure its billing collector AMCA adequately secured
    patients’ Personal Information.” FAC ¶¶ 294, 305, 327, 347, 359, 393, 403, 422.
    Nevertheless, any allegations that could arguably support a theory of
    misrepresentation fail as well.

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    policies before purchasing medical services.” Op., at 61. Plaintiffs Rothwell,

    Judelsohn, and Allende still do not allege they read any such policies, see FAC ¶ 26, 38,

    40, and Plaintiffs Nazemnikov, Gadero, Shulman, and Wallach’s allegations that each

    “does not recall” if he or she reviewed a privacy policy, or is not certain or merely

    “believes” he or she did, is insufficient under the California, Massachusetts, and New

    York statutes.37 FAC ¶¶ 19, 28, 32, 33; see Tabler v. Panera LLC, 2020 WL 3544988, at

    *6-7 (N.D. Cal. Jun. 30, 2020) (dismissing UCL and CLRA claims for failure to allege

    specific facts regarding statements); see also Labcorp’s Br., ECF 148-9 (App. E).

          Plaintiffs’ omission-based allegations further fail because none of the Plaintiffs

    allege they would not have used Labcorp’s services if they had known about the

    purported omissions. See, e.g., FAC ¶ 18. Instead, Plaintiffs merely allege they would

    not “have continued to use” Labcorp services had they been informed that Labcorp

    was going to share information with AMCA. See, e.g., id. (emphasis added). This

    theory implies that Plaintiffs anticipated that they would both use Labcorp’s services

    on multiple occasions and that their information would be sent to a debt collection

    agency after those subsequent visits because they did not intend to pay for Labcorp’s

    services when they received them. Plaintiffs do not allege sufficient facts to support

    this attenuated causal chain, nor is it plausible to assume it. Twombly, 550 U.S. at 557.



    37
      Indeed, an inference that any of these Plaintiffs actually reviewed the policies is not
    “plausible” when they do not allege when this review happened or anything about
    what the policies said. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 557 (2007).

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    That is particularly true because several Plaintiffs allege that they did not knowingly

    use Labcorp’s services; their doctors transferred their samples to Labcorp without

    Plaintiffs’ advance knowledge. See FAC ¶¶ 19, 21, 25, 27, 32, 33, 38, 40.

                         c.     Plaintiffs’ Omission-Based Claims Fail Under Massachusetts and
                                Wisconsin Law for Additional Reasons
           Plaintiffs’ omission-based claims also fail under the Massachusetts and

    Wisconsin statutes because Wisconsin does not permit omission-based claims, see In re

    Gen. Motors LLC Ignition Switch Litig., 257 F. Supp. 3d 372, 456 (S.D.N.Y. 2017), and

    Massachusetts law only prohibits “material, knowing, and willful nondisclosure.” See

    Carlson v. The Gillette Co., 2015 WL 6453147, at *6 (D. Mass. Oct. 23, 2015). Plaintiffs

    have not alleged that Labcorp knowingly committed any fraudulent omissions because

    they have not alleged facts showing Labcorp had actual knowledge of AMCA’s

    allegedly deficient data security.

                  2.     Plaintiffs’ Consumer Protection Claims Fail for Additional
                         Reasons
                         a.     Plaintiffs’ UCL Claim Fails
           The Court previously held that Plaintiffs are not entitled to restitution or

    injunctive relief under the UCL, Op. at 58, the only available remedies. See Madrid v.

    Perot Sys. Corp., 130 Cal. App. 4th 440, 452 (2005). Nothing in the FAC has changed,

    and Plaintiffs’ UCL claim should be dismissed on that basis alone. Plaintiffs still do

    not allege any “benefit to [Labcorp]” as required to be entitled to restitutionary relief

    under the UCL. Op., at 58. Nor does the FAC add any allegations to show “a


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    likelihood of redressable future harm” as also required to “justify injunctive relief,” id.,

    much less any allegations showing that Plaintiffs lack an adequate remedy at law. See

    Sonner v. Premier Nutrition Corp., 971 F.3d 834, 844 (9th Cir. 2020) (affirming dismissal

    of a UCL claim because the complaint failed to allege that the plaintiff lacked

    adequate legal remedies); Watkins v. MGA Ent., Inc., 550 F. Supp. 3d 815, 818 (N.D.

    Cal. 2021) (collecting post-Sonner cases dismissing UCL claims where plaintiffs failed

    to allege they lacked an adequate remedy at law).

           In addition to this threshold flaw, Plaintiffs’ attempts to assert “unlawful” and

    “unfair” conduct under the UCL fall flat. As to unlawfulness, that theory should be

    rejected for two reasons. First, Plaintiffs’ UCL claim cannot be predicated on

    Labcorp’s alleged failure to comply with the FTC Act and HIPAA, see FAC ¶ 290,

    because these statutes have no private right of action and instead include detailed

    administrative enforcement mechanisms that preclude private enforcement. See, e.g.,

    Fero v. Excellus Health Plan, Inc., 236 F. Supp. 3d 735, 777 (W.D.N.Y. 2017) (rejecting

    claim predicated on FTC Act and HIPAA); see also Acara v. Banks, 470 F.3d 569, 571

    (5th Cir. 2006) (“HIPAA limits enforcement of the statute to the Secretary of Health

    and Human Services.”); Carlson v. Coca-Cola Co., 483 F.2d 279, 280 (9th Cir. 1973)

    (“[T]he Act vests initial remedial power solely in the Federal Trade Commission.”). 38


    38
      Plaintiffs’ UCL claims also cannot be based on alleged violation of the CLRA or
    California Records Act, see FAC ¶¶ 290, 298-309, because as shown in this Section
    and § III.C supra, each of those claims is fundamentally flawed and should be
    dismissed.

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    The Court should not allow Plaintiffs to circumvent these remedial schemes and

    “thwart” legislative intent through the backdoor of a consumer protection statute.

    Broder v. Cablevision Sys. Corp., 418 F.3d 187, 199 (2d Cir. 2005). Second, Labcorp’s

    alleged failure to comply with unnamed “common law” or “statutory duties,” see FAC

    ¶ 290, is too conclusory and indefinite to support a UCL claim. See, e.g., Hodges v.

    Apple Inc., 2013 WL 4393545, at *6 (N.D. Cal. Aug. 12, 2013) (to support an

    “unlawful” theory “a plaintiff must identify the particular section of the statute” and

    plead with particularity how it was allegedly violated).

           With respect to unfairness, Plaintiffs cannot base that theory on Labcorp’s

    purported fraudulent or unlawful conduct because as shown above Plaintiffs have not

    alleged facts showing that Labcorp committed any actionable misrepresentation or

    omission or violated any statute that can provide a basis for liability. See §§ III.B-C;

    Hadley v. Kellogg Sales Co., 243 F. Supp. 3d 1074, 1104 (N.D. Cal. 2017) (“unfair” theory

    fails where underlying allegations overlap with allegations insufficient to show

    fraudulent or unlawful conduct). The remaining allegations in the FAC amount to

    bald conclusions of law, see FAC ¶ 291, and do not show that Labcorp’s purported

    conduct was unfair. See Silcox v. State Farm Mut. Auto. Ins. Co., 2014 WL 7335741, at

    *5 (S.D. Cal. Dec. 22, 2014). Indeed, Labcorp’s alleged failure to stop the actions of

    two third parties—AMCA and the attackers—cannot be considered unfair. See, e.g.,

    Morfin v. Accredited Home Lenders, Inc., 2010 WL 391838, at *7 (S.D. Cal. Jan. 26, 2010)




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    (dismissing plaintiff’s unfairness claim absent allegations that defendant participated in

    the challenged conduct).

           Plaintiffs’ assertion that Labcorp violated legislatively-declared public policy

    articulated in HIPAA and the FTC Act, among other statutes, fails as well. See FAC ¶

    290. Plaintiffs cite no “established public policy” that Labcorp purportedly violated

    by virtue of having a business associate targeted in a cyberattack. See, e.g., Rojas-Lozano

    v. Google, Inc., 159 F. Supp. 3d 1101, 1118 (N.D. Cal. 2016) (rejecting unfairness claim

    where plaintiff failed to cite a “specific” law supporting the asserted policy at issue).

                         b.     Plaintiffs’ Pennsylvania Consumer Protection Act Claim Fails
           This Court previously dismissed Plaintiffs’ claim under the Pennsylvania statute

    for failure “to show actual reliance on [Labcorp’s] allegedly wrongful conduct.” Op.,

    at 60. As shown above, because Plaintiff Judelsohn still does not allege he “viewed

    any data privacy policies before obtaining services” from Labcorp, his claim should be

    dismissed again. Id.; FAC ¶ 38. Plaintiffs’ claim also fails for two additional reasons.

    First, Plaintiffs do not allege facts showing that Labcorp misrepresented the

    characteristics or quality of any “good” or “services” as the statute requires. See 73 Pa.

    Stat. Ann. § 201-2(4); Belmont v. MD Inv. Partners, Inc., 708 F.3d 470, 498 (3d Cir. 2013).

    Second, the economic loss rule bars the claim. See In re AZEK Bldg. Prod., Inc., Mktg.

    & Sales Practices Litig., 82 F. Supp. 3d 608, 622 (D.N.J. 2015).

                         c.     Plaintiffs’ Kentucky Consumer Protection Law Claim Fails
           Plaintiffs still do not satisfy the Kentucky statute’s territoriality requirements


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    either,39 which limit claims to three locations: (1) the Circuit Court in which the seller

    resides or “is doing business”; (2) the Circuit Court in which the purchaser . . . resides;

    or (3) “where the transaction in question occurred.” Ky. Rev. Stat. Ann. § 367.220(1).

    Plaintiffs do not allege that Labcorp resides in Kentucky. Nor has the sole Kentucky

    Plaintiff, Rothwell, filed an underlying lawsuit in any Kentucky court or alleged that

    any “transaction” occurred outside of the state and in New Jersey.

           The Kentucky statute also prohibits class actions. See Arnold v. Microsoft Corp.,

    2000 WL 36114007, at *6 (Ky. Cir. Ct. July 21, 2000), aff’d, 2001 WL 1835377 (Ky. Ct.

    App. Nov. 21, 2001). Federal courts have dismissed class action claims on that basis,

    and so should this Court. See In re Anthem, 162 F. Supp. 3d at 999-1001 (dismissing

    claim with prejudice); In re Grand Theft Auto Video Game Consumer Litig. (No. II), 251

    F.R.D. 139, 160 (S.D.N.Y. 2008) (finding that statute did not support class actions).

                         d.     Plaintiffs Fail To Allege A Purchase Or Lease Under Three
                                Statutes
           Plaintiffs’ CLRA, Kansas, and Kentucky claims each also fail because Plaintiffs

    do not allege they purchased or leased any service or good, as each statute requires.

    Compare Cal. Civ. Code §§ 1780(a), 1761(d); Kan. Stat. Ann. §§ 50-626(a), 50-624(c);

    Ky. Rev. Stat. Ann. § 367.220(1) with FAC ¶¶ 18, 19, 25, 26.40 As Plaintiffs


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       Labcorp reserves its right to challenge Plaintiffs’ Massachusetts consumer
    protection claim on territoriality grounds. See Op., at 60 n.56.
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       Plaintiffs’ CLRA fails for another independent reason: Plaintiffs did not satisfy the
    statute’s pre-suit notice requirement because the notice: (i) was sent the day before the
    CAC was filed—not at least thirty days prior, as required; (ii) was not sent by certified

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    acknowledge, they did not purchase anything from Labcorp: AMCA had their data

    because “LabCorp utilized [it] to collect unpaid bills.” FAC ¶ 50. Plaintiffs’ claims

    under these statutes should be dismissed on this basis. See, e.g., Claridge v. RockYou,

    Inc., 785 F. Supp. 2d 855, 864 (N.D. Cal. 2011) (dismissing CLRA claim where

    plaintiff did not “purchase or lease” services); Berry v. Nat’l Med. Servs., Inc., 41 Kan.

    App. 2d 612, 622 (2009) (dismissing claim where plaintiff did not “exchange anything

    of value” with defendants to secure their services”), aff’d, 292 Kan. 917 (2011).

           D.     Plaintiffs’ State Data Breach Notification and Remaining Data
                  Security Claims Should Be Dismissed
           Plaintiffs’ data breach notification and data security statutory claims also fail as

    a matter of law. As a threshold matter, Plaintiffs’ claims under the Kansas and

    Kentucky statutes should be dismissed because Plaintiffs previously conceded that

    these claims are without merit and withdrew them. See ECF 166 at 51. These claims,

    and Plaintiffs’ other claims under data security and notification statutes, also fail

    because Plaintiffs do not plead cognizable injury and causation, see supra § III.B, and

    for additional statute-specific reasons.

                  1.     Three State Statutes Have No Enforceable Private Right of
                         Action


    or registered mail; (iii) did not identify particular CLRA violations; and (iv) did not
    demand that Labcorp correct or rectify specific alleged violations. See Cal. Civ. Code
    § 1782(a); see also Von Grabe v. Sprint PCS, 312 F. Supp. 2d 1285, 1304 (S.D. Cal. 2003)
    (dismissing claim with prejudice where the pre-suit notice insufficient); Laster v. T-
    Mobile USA, Inc., 407 F. Supp. 2d 1181, 1196 (S.D. Cal. 2005), aff’d, 252 F. App’x 777
    (9th Cir. 2007) (“Strict adherence to the [CLRA’s] notice provision is required.”).

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           Plaintiffs’ claims under the Kansas and Wisconsin statutes fail because neither

    contains an express private cause of action, see Kan. Stat. Ann. § 50-7a02(g); Wis. Stat.

    Ann. § 134.98(4), and no such right can be implied under state law when neither “the

    language” nor “the form of the statute evinces the legislature’s intent to create a

    private right of action.” Grube v. Daun, 563 N.W.2d 523, 526 (Wis. 1997); see also

    Nichols v. Kansas Political Action Comm., 11 P.3d 1134, 1143 (Kan. 2000) (same); Fox v.

    Iowa Health Sys., 399 F. Supp. 3d 780, 800 (W.D. Wis. 2019) (no indication Wisconsin

    legislature intended to create private right of action).

           Likewise, Plaintiffs’ claim under the Maryland law should be dismissed because

    the statute is explicit that alleged violations are only enforceable under the state

    consumer protection law, see Md. Code Ann. Com. Law § 14-3508, and, as shown

    above, that claim fails. See supra §§ III.B-C.

                  2.     Several Claims Fail Because the State Statute Does Not Apply
                         Here
           Plaintiffs’ claims under the Kansas and Kentucky statutes also fail because

    those laws expressly exempt entities regulated by HIPAA, see Kan. Stat. Ann. § 50-

    7a02(e); Ky. Rev. Stat. Ann. § 365.732(8), and Plaintiffs allege that Labcorp is subject

    to HIPAA. See FAC ¶¶ 51-58.

           With respect to the Maryland and Wisconsin laws, those statutory requirements

    are inapplicable where, as here, Labcorp complied with federal notification

    requirements. See Md. Code Ann. Com. Law § 14-3507; Wis. Stat. Ann. §



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    134.98(3m)(b). While Plaintiffs again assert that the notice was “deficient,” FAC ¶¶

    141-142, they still have not and cannot allege specific shortcoming in the timing of

    the notices under federal law. AMCA sent a first batch of notices, FAC ¶ 140,

    consistent with applicable regulations. See 45 C.F.R. §§ 164.404, 164.410. And

    Plaintiffs say they received Labcorp notices in June or July, FAC ¶ 17-40, consistent

    with notice under 45 C.F.R. § 164.404. As to purported “deficiencies” in the content,

    Plaintiffs’ assertion that each letter did not specify “exactly” what information was

    affected, that the toll-free number was not operational for longer than 90-days, and

    that complimentary credit monitoring was not offered to everyone is beside the point,

    see FAC ¶ 141, because no allegations in the FAC show that the notices failed to

    contain the elements actually required by HIPAA. See 45 C.F.R. § 164.404(c)(1).

           Finally, Plaintiffs’ claim under the Maryland statute also fails because it permits

    Labcorp to disclose personal information to nonaffiliated third party service providers

    like AMCA. Md. Code Ann. Com. Law § 14-3503. In particular, the statute does not

    require that the disclosing entity itself maintain the security of those third-party

    systems, but instead it “require[s] by contract that the third party implement and

    maintain reasonable security procedures and practices.” Id. (emphasis added).

    Plaintiffs do not allege facts showing that Labcorp failed to satisfy this requirement.

                                        CONCLUSION
           For all the foregoing reasons, Labcorp respectfully requests that the Court

    grant its motion to dismiss Plaintiffs’ claims with prejudice.


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    Dated: May 31, 2022               By: /s/ Edward J. Fanning, Jr.

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